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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

NETLIST, INC.,                         )
                                       )
            Plaintiff,                 )
                                       )     Case No. 2:22-cv-293-JRG
      vs.                              )
                                       )     JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS CO, LTD;           )     (Lead Case)
SAMSUNG ELECTRONICS AMERICA,           )
INC.; SAMSUNG SEMICONDUCTOR            )
INC.,                                  )
                                       )
            Defendants.                )


        NETLIST, INC.'S SUPPLEMENTAL BRIEF IN SUPPORT OF ITS
      OPPOSITION TO SAMSUNG'S MOTION FOR SUMMARY JUDGMENT
                     OF NO WILLFULNESS [DKT. 437]




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        Netlist submits this supplemental motion in light of the new factual developments relevant to

the disposition of Samsung's Motion for Summary Judgment on Willfulness ("Samsung's Motion"),

Dkts. 341, 437, 510, 558, namely, the jury's finding in CDCA that Samsung materially breached the

JDLA between the parties. Ex. 1 (verdict from Netlist Inc. v. Samsung Elecs. Co., Ltd., No. 8:20-cv-993

(C.D. Cal.) ("CDCA")).

I.      INTRODUCTION

        Since the briefing on Samsung's Motion for Summary judgment of no willfulness concluded,

a jury in the Central District has ruled that Samsung had no license after notice of termination was

sent on July 5, 2020, because of material breach, which required the jury to consider whether Samsung

was acting in bad faith or with willfulness. Ex. 1 CDCA, Dkt. 556. In addition, Samsung has submitted

JMOL briefing in which it did not seek judgment as a matter of law or a new trial on the jury's finding

that the breach was material after having adopted Netlist's interpretation. Ex. 2 CDCA, Dkt. 596.

Instead, Samsung only sought judgment as a matter of law or a new trial on its interpretation of the

supply clause. Id.

     Samsung's motion argues that its infringement is not willful post-termination based on the Ninth

Circuit's remand order, which Samsung contends "confirms that Samsung's good-faith belief in these

arguments was both reasonable and justified." Dkt. 341 at 5. However, as Samsung has since admitted

in the CDCA, the Ninth Circuit's holding reflected nothing more than that "the intrinsic evidence—

i.e., the 'written contract'—did not resolve the parties' intent." Ex. 2 CDCA, Dkt. 569 (Samsung

JMOL). The Federal Circuit has made clear that prevailing on an interim decision does not preclude

a finding of intent to infringe because the inquiry is factual. In Smith & Nephew Inc. v. Arthrex, Inc, 603

Fed. App'x. 981, 989 (Fed. Cir. 2015) the accused infringer, Arthrex, argued:

        that, as a matter of law, it could not have had the knowledge required to indirectly
        infringe during the period after the district court granted JMOL to Arthrex (or perhaps



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        even when, during the last trial, it announced its belief that Arthrex was likely to win
        the jury verdict or eventual JMOL) and before this court reversed in S & N II.

        The Court rejected this argument, reasoning:

        Arthrex rests its argument entirely on the contention that a good-faith belief in non-
        infringement negates the required knowledge and is established as a matter of law by
        the district court's ruling (or pronouncement). But such a good-faith belief presents a
        factual question . . . ; cf. KangaROOS U.S.A., Inc. v. Caldor, Inc., 778 F.2d 1571, 1573
        (Fed.Cir.1985) ("Good faith, intent to deceive, scienter, [and] honest mistake are
        all questions of fact."). Whatever else may be said about Arthrex's argument, the
        district court's ruling and pronouncement could, at most, create a factual question, not
        an entitlement to a noknowledge finding as a matter of law. Id. (emphasis added).

To be clear, Netlist believes that willfulness is a pure question of fact and the Ninth Circuit's remand

is not relevant, much less dispositive, as a matter of law. However, to the extent court rulings are

relevant, the fact that a jury found Samsung's breach was in bad faith and willful, as well as the fact

that Samsung abandoned any claim that its breach was not material if Netlist's interpretation of the

supply clause in the JDLA is correct, are highly probative under Samsung's theory of the law. Netlist

shared with Samsung a copy of this brief before filing.

II.     ARGUMENT

        The jury's verdict in CDCA further clarifies that Samsung's Motion for Summary Judgment

on Willfulness should be denied.

        First, the CDCA jury was asked to choose which of the following two interpretations of the

supply clause in the JDLA was correct:

        A. Samsung agreed to supply NAND and DRAM products to Netlist without limitation to
           the parties' NVDIMM-P joint development project on Netlist's request at a competitive
           price.

        B. Samsung agreed to supply NAND and DRAM products to Netlist for the parties'
           NVDIMM-P joint development project on Netlist's request at a competitive price.

Ex. 1 (CDCA verdict). The jury rejected Samsung's interpretation and adopted Netlist's. Second, the

jury was asked if Samsung had materially breached the clause. Samsung conceded that it had breached

under Netlist's interpretation. Ex. 3 (CDCA jury instructions) at 32 ("If you interpret the contract to


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be consistent with Netlist's interpretation, then the Court instructs you that Samsung breached the

JDLA under that interpretation."). Samsung only defended on materiality. Id. at 33 ("If you determine

that the contract is consistent with Netlist's interpretation, then you must determine whether

Samsung's breach of the contract was material."). The jury found material breach. Ex. 1 (verdict form).

In determining whether Samsung's breach was material, the jury was instructed to consider, among

other things, "the breaching party's good faith or willfulness." Ex. 3 at 33. Whereas Judge Scarsi's

prior summary judgment ruling and the Ninth Cicuit's remand decision of material breach were based

solely on consideration of the text of the JDLA itself, the jury also took into account "[e]vidence

outside the written contract," including the communications between Netlist and Samsung, in finding

that Netlist's interpretation reflected the parties' intent when entering the JDLA. Id. at 31. This

evidence is summarized in Netlist's Motion for Summary Judgment on Samsung's License Defense,

Dkt. 273, Statement of Undisputed Facts 1-22. Just as this evidence informed the CDCA jury's

decision that Samsung did not breach in good faith and was willful, it informs the same inquiry as to

Samsung's belief that it had a license after notice of termination in July 2020. This evidence is especially

compelling because in its JMOL and Motion for a new trial, Samsung does not dispute that, if Netlist's

interpretation of the supply agreement is correct, its behavior satisfied the standard for materiality,

which includes willfulness of the breach. Instead, Samsung only disputes the interpretation of the

clause adopted by the jury. Ex. 2 (CDCA, Dkt. 596) ("Samsung's motion for judgment as a matter of

law is made on the grounds that no reasonable juror could have concluded that the parties intended

Netlist's construction of Section 6.2 of the Joint Development and License Agreement ('"JDLA'")

when they entered into the contract.").

        The Federal Circuit has found evidence of the circumstances surrounding the termination of

a patent license is relevant to willfulness. Metabolite Labs., Inc. v. Laboratory Corp. of Am. Holdings, 370

F.3d 1354, 1371 (Fed. Cir. 2004) (jury found license agreement terminated and found willful



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infringement; under Samsung's theory, the fact that breach of contract went to the jury should have

been a complete defense to willfulness; the Federal Circuit instead affirmed enhanced damages based

on LabCorp's interpretation of the contract: "LabCorp's failure to conduct a reasonable and

independent investigation regarding the Abbott total homocysteine test is further highlighted by the

very terms of the license agreement between LabCorp and Abbott Labs."); Mentor Graphics Corp. v.

EVE-USA, Inc., 851 F.3d 1275 (Fed. Cir. 2017) (reversing exclusion of evidence of willfulness based

on license termination) ("Mentor relies on Synopsys' acquisition of EVE, which terminated the license

and rendered all subsequent sales infringing.")




Dated: August 20, 2024                            Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on August 20, 2024, a copy of the foregoing was served to all counsel of

record via the Court's ECF System.

                                                      /s/ Isabella Chestney
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